Case 1:24-cv-01129-RPK-LB Document 1 Filed 02/08/24 Page 1 of 14 PageID #: 1
                                                                                             7Q

                                                                                              R
                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK                                   CQ-q

                                                                                            !jS°
                                                                                            ?. rn

                                                   Complaint for Employment
                                                                                               CU
                                                   Discrimination                              m


(Write thefull name ofeach plaintiffwho isfiling   Case No.
                                                                 24-cv-01129-RPK-LB
this complaint. Ifthe names ofall the plaintiffs   (to befilled in by the Clerk's Office)
cannotfit in the space above, please write "see
attached" in the space and attach an additional    Jury Trial:     □ Yes     □ No
page with thefull list ofnames.)                                   (check one)

   -against-




(Write thefull name ofeach defendant who is
being sued. Ifthe names ofall the defendants
cannotfit in the space above, please write "see
attached" in the space and attach an additional
page with thefull list ofnames.)
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I.   The Parties to This Complaint

           The Plaintiff(s)

           Provide the information below for each plaintiff named in the complaint. Attach
           additional pages if needed.

                   Name                                        "S.                    pjvT
                   Street Address                 A        HnW.^V.
                   City and County
                   State and Zip Code                                          •> 1
                   Telephone Number           2.IC- -ir><r- ^I<rrl
                   E-mail Address          .^rWr^Av^r^pr^.4-7 I                        Qrr^r,,   . ^ Qnr>



     B.    The Defendant(s)

           Provide the information below for each defendant named in the complaint,
            whether the defendant is an individual, a government agency, an organization, or
            a corporation. For an individual defendant, include the person's job or title (if
            known). Attach additional pages if needed.

            Defendant No. 1

                   Name

                   Job or Title                   VC€-         4^i£.<xrijcLY^\-
                   (if known)
                    Street Address          2m-i         vaI
                    City and County         r4ei/>\ Mlv/VC ^
                    State and Zip Code
                    Telephone Number
                    E-mail Address         rn.V-abot ^ <9
                   (if known)

            Defendant No. 2

                    Name                                             S>fTC tJr ttc

                    Job or Title               <—CPrviv ^
                   (if known)
                    Street Address

                    City and County          tsjy v4                       ^            ^/TV
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                   State and Zip Code                            ^      \00o \
                   Telephone Number
                   E-mail Address
                   (if known)

     C.     Place of Employment

            The address at which I sought employment or was employed by the defendant(s)
            is;


                   Name                        Aoryc^                ^t-v/
                   Street Address              9__M n                    ^    5;-f>
                   City and County                     Hovvc ^                    WovlC
                   State and Zip Code           fslt^W        ^              llnDol
                   Telephone Number

n.   Basis for Jurisdiction

     This action is brought for discrimination in employment pursuant to (check all that
     apply):

           ^ Title VII ofthe Civil Rights Act of 1964, as codified,42 U.S.C. §§ 2000e
                   to 2000e-17(race, color, gender, religion, national origin).
                   (Note: In order to bring suit infederal district court under Title VII, you
                   mustfirst obtain a Notice ofRight to Sue letterfrom the Equal
                    Employment Opportunity Commission.)

               □    Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C.
                    §§ 621 to 634.

                    (Note: In order to bring suit in federal district court under the Age
                    Discrimination in Employment Act, you must first file a charge with the
                    Equal Employment Opportunity Commission.)

               □    Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112
                    to 12117.

                     (Note: In order to bring suit in federal district court under the Americans
                     with Disabilities Act, you must first obtain a Notice ofRight to Sue letter
                    from the Equal Employment Opportunity Commission.)
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              □       Other federal law (specify the federal law):


              □       Relevant state law (specify, if known):


              □       Relevant city or county law (specify, if known):



III.   Statement of Claim

       Write a short and plain statement of the claim. Do not make legal arguments. State as
       briefly as possible the facts showing that each plaintiff is entitled to the damages or other
       relief sought. State how each defendant was involved and what each defendant did that
       caused the plaintiff harm or violated the plaintiffs rights, including the dates and places
       of that involvement or conduct. If more than one claim is asserted, number each claim
       and write a short and plain statement of each claim in a separate paragraph. Attach
       additional pages if needed.

       A.     The discriminatory conduct of which I complain in this action includes (check all
              that apply):

                      □       Failure to hire me.

                      □       Termination of my employment.
                      jZl     Failure to promote me.
                       □      Failure to accommodate my disability.
                              Unequal terms and conditions of my employment.
                              Retaliation.

                      p/ Other acts (specify): L?Frr\n*rr'c(
                      (Note: Only those grounds raised in the charge filed with the Equal
                      Employment Opportunity Commission can he considered by the federal
                      district court under the federal employment discrimination statutes.)

       B.      It is my best recollection that the alleged discriminatory acts occurred on date(s)
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     C.   I believe that defendant(s)(check one):

                  J2f'        is/are still committing these acts against me.
                   □          is/are not still committing these acts against me.

     D.    Defendant(s) discriminated against me based on my (check all that apply and
           explain)'.

                              race


                   □          color
                   0           gender/sex
                   □           religion
                   □           national origin
                   □           age. My year of birth is                  . (Giveyour year of birth
                               only ifyou are asserting a claim of age discrimination.)
                    □          disability or perceived disability (specify disability)


     E.    The facts of my case are as follows. Attach additional pages if needed.
                                                       0£p.tAS»-                —(^jnnp)oi^v cr\ ibe—          —
                  nr^ \/^nro.T' UloA W^-P-t                                                   fcv—ryArnrths
            VU-^                                           ZC      V-apli<./f   1+          —rcVJiC-fvn
                         rl^rf A              rcrrY\pirn^ie -T                   C\\DrAf^—f
                                                ^              r.r^A 5h^p/rv                    JoK            —
           Lc.\'ynj ic.                                                <ryv>               £r» nnij^ raoL.
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            AAc.^/io Ly^^dij IJ r( Uk \f ifp                                         '            TO          rv^
            H€t>nrA<jc.(                               Aip/ygx,! Dlriph Hs Wru-c r; -6Jse—
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                            irVf>           iAfiAU y\Ar..vio              -V*            W-     fjfhOrrKrd—fikv—
                           "Ih^i/v |irl|/»<AA
           (Note: As additional support for the facts ofyour claim, you may attach to this
           complaint a copy ofyour charge filed with the Equal Employment Opportunity
           Commission, or the charge filed with the relevant state or city human rights
           division.)
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rV.   Exhaustion of Federal Administrative Remedies

      A.       It is my best recollection that 1 filed a charge with the Equal Employment
               Opportunity Commission or my Equal Employment Opportunity counselor
               regarding the defendant's alleged discriminatory conduct on (date)
                            NAfWf            2=M ^         3

      B.       The Equal Employment Opportunity Commission (check one):
                       □        h2is not issued a Notice of Right to Sue letter.
                      ^         issued a Notice of Right to Sue letter, which 1 received on (date)

                                (Note: Attach a copy of the Notice of Right to Sue letter from the
                                Equal Employment Opportunity Commission to this complaint.)

      C.       Only litigants alleging age discrimination must answer this question.
               Since filing my charge of age discrimination with the Equal Employment
               Opportunity Commission regarding the defendant's alleged discnmmatory
               conduct (check one):

                       □        60 days or more have elapsed.
                       □        less than 60 days have elapsed.

V.    Relief

      State briefly and precisely what damages or other relief the plaintiff asks the court to
      order. Do not make legal arguments. Include any basis for claiming that the wrongs
      alleged are continuing at the present time. Include the amounts of any actual damages
      claimed for the acts alleged and the basis for these amounts. Include any punitive or
      exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
      actual or punitive money damages.

           ^                                                          fln-l rUnrvitTd. J feJl
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                       rr                                (\e\p\r<?^\c                    (\(yi^{fM.y—
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           was               -tv^ips -to do -the nshv -+hins.'
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VI.   Certification and Closing

      Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
      knowledge, information, and beliefthat this complaint:(1)is not being presented for an
      improper purpose,such as to harass, cause unnecessary delay, or needlessly increase the
      cost oflitigation;(2)is supported by existing law or by a nonfrivolous argument for
      extending, modifying, or reversing existing law;(3)the factual contentions have
      evidentiary support or, if specifically so identified, will likely have evidentiary support
      after a reasonable opportunity for further investigation or discovery; and(4)the
      complaint otherwise complies with the requirements of Rule 11.

      A.     For Parties Without an Attorney

             I agree to provide the Clerk's Office with any changes to my address where case-
              related papers may be served. I understand that my failure to keep a current
              address on file with the Clerk's Office may result in the dismissal of my case.

              Date of signing:             ,202^.

              Signature of Plaintiff
              Printed Name of Plaintiff      ^£^nr\e
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        U.S.EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                   New York District Office
                                                                                   33 Whitehall St,5fli Floor
                                                                                       New York,NY 10004
                                                                                            (929)506-5270
                                                                                    Website: www.eeoc.gov


                       mSMTSSAL AND NOTTCF.OF RTOHTS
                   (This Notice replaces EEOC FORMS 161,161-A & 161-B)

                                      Issued On: 12/11/2023
To: Sade Davenport
    105AHuUSt,Apt#3
    BROOKLYN,NY 11233
Charge No:520-2024-01074
EEOC Representative and email: ANDREA MACANCELA
                               Investigator
                               andrea.macancela(®eeoc.gov


                                   DISMISSAL OF CHARGE


The EEOC has granted your request that the agency issue a Notice of Right to Sue, where it is
unlikely tiiat EEOC will be able to complete its investigation within 180 days from the date the
chaige was filed.
The EEOC is terminating its processing of this chaige.

                             NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this chaige under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days.(The time limit for filing a lawsuit
based on a claim under state law may be different)
If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                              On behalf of the Commission,

                                              Digitally Signed ByrTimothy Riera
                                              12/11/2823
                                              Timothy Riera
                                              Acting District Director
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Enclosure with EEOC Notice of Qosure and Rights(01/22)



District Director at Timothy Riera, 33 Whitehall St 5th Floor, New York, NY 10004.

To make a Secrinn 83 request for your charge file, submit a signed written request stating it is
a "Section 83 Request" for Chaige Number 520-2024-01074 to the District Director at Timothy
Riera, 33 Whitehall St 5th Floor, New York, NY 10004.

You may request the chaige file up to 90 days after receiving this Notice of Right to Sue. After
the 90 days have passed, you may request the chaige file only if you have filed a lawsuit in court
and provide a copy of the court complaint to EEOC.
For more information on submitting FOIA requests, go to
https://www.eeoc.gov/eeoc/foia/mdex.cfm.
For more information on submitted Section 83 requests, go to https://www.eeoc.gov/foia/section-
83-disclosure-information-charge-flles.
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Endosire widi EEOC Notice of Qosure and Rights(01/22)



                               Information Related TO Filing Suit
                            Underthe Laws Enforced by the EEOC
(This information relates to filing suit in Federal or State court under Federal lanv. Ifyou also
plan to sue claiming violations ofState law,please be aware that time limits may be shorter and
              other provisions ofState law mc^ be different than those described below.)

ImportantTime Limits-90 Daystofile aLawsutt

If you choose to file a lawsuit against the respondent(s) named in the charge of discrimination,
you must file a complaint in court within 90 days off the date you receive this Notice. Receipt
generally means the date when you(or your representative)opened this email or mail. You should
keep a record off the date you received this notice. Once this 90-day period has passed, your
right to sue based on the charge referred to in this Notice will be lost If you intend to consult an
attorney, you should do so promptly. Give your attorney a copy of this Notice, and the record of
your receiving it(email or envelope).
If your lawsuit includes a claim under the Equal Pay Act(EPA), you must file your complaint in
court within 2 years(3 years for willful violations) of the date you did not receive equal pay. This
timp limif for filing an EPA lawsuit is separate from the 90-day filing period under Title "\hl, the
ADA,GINA,the ADEA,or the PWFA referred to above. Therefore,if you also plan to sue under
Title Vll,the ADA,GINA,the ADEA or the PWFA,in addition to suing on the EPA claim, your
lawsuit must be filed within 90 days of this Notice and within the 2- or 3-year EPA period.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction.
Whether you file in Federal or State court is a matter for you to decide after talking to your
attorney. You must file a "complaint" that contains a short statement of the facts of your case
which shows that you are entitled to relief. Filing this Notice is not enough.For more information
about filing a lawsuit, go to https://www.eeoc.gov/employees/lawsuit.cfm.
Attorney Representation

For infoimation about locating an attorney to represent you, go to:
https://www.eeoc.gov/employees/lawsuit.cfm.
In veiy limited circumstances,a U.S.District Court may appoint an attorney to representindividuals
who demonstrate that they are financially unable to afford an attomey.

How TO RequestYour Charge File and 90-Day Time Limitfor Requests
There are two ways to request a charge file: 1)a Freedom of Infonnation Act(FOIA)request or
2)a "Section 83" request. You may request your charge file under either or both procedures.
EEOC can generally respond to Section 83 requests more pronq)dy than FOIA requests.
Since a lawsuit must be filed within 90 days of this notice, please submit your FOIA and/or
Section 83 request for the charge file promptly to allow sufficient time for EEOC to respond and
for your review.
To make a FOIA request ffor your charge file, submit your request online at
https://eeoc.arkcase.com/foia/poital/login (this is the preferred method). You may also submit a
FOIA request for your charge file by U.S. Mail by submitting a signed, written request
identifying your request as a *T01A Request" for Charge Number 520-2024-01074 to the
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                                            Please retain tbis notice for your records.



                                                                                  Gc:
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EEOCFdnn5(llA»}


                           Charge of Discrimination                                                          Chaise Presented To:                     Agenty(ies)Charge No(s):

                 This fonn is affected by the Privacy Act of 1974. See eadosed Privacy Act                                  EEOC                            520-2024-01074

                       Statement and other information before completing this fonn.                                         FEPA


                                                                 New York State Division OfHuman Rights                                                                       EEOC
                                                                                State or local Agemy,ifany

I Name(indicate Mr., Ms., Mrs., Miss, Mx.,Dr., Hon.,Rev.)                                                                   Home Phone                            Year of Birth

Sade Davenport                                                                                                           315-765-9551                                  1990

Street Address

105AHuUSt.Apt#3
BROOKLYN.NY 11233
Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agenqr That I Believe Discriminated
Against Me or Others. (Ifmore than two, list untler PARTICULARS below.)
Name                                                                                                                    No.Em{dqrees. Membefs                      Phone No.

Arrow Security                                                                                                          501+ Employees
Street Address

247 W 35th St

NEW YORK,NY 10001
Name                                                                                                                    Na Emidoyees, Meinbeis                     Phone No.




Street Address                                                                        Qty,State and ZIP Code




DISCRIMINATION BASED ON                                                                                      DATE(S)DISCRIMINATION TOOK PLACE


                                                                                                             Earliest                                    Latest

Race                                                                                                         1004/2023                                             11/14/2023




                                                                                                                                         Continuing Action

THE PARTICULARS ARE(Ifadditional paper is needed, attach extra sheetfs)):
  I am a 33-year-old African American female who was employed at the above-named entity from August2023untilthe present as a Tour Commander.


  I believe I was discriminated against by my employer on the basis of my race since I have been left off the schedule hpginning on or aroimd October
  31,2023.The Respondent has not provided a reason as to me being taken off the schedule.


  I believe Mario Laboy is discriminating against me on the basis of my race compared to other Tour Commanders. For example,Stephen Fret body
  slammed an immigrant on the Randalls Island location and was not taken off the sdiedule, this incident occurred on or around October 30,2023.1
  reported Tour Commander,T.Allen,for stealing company time at the Holiday Inn location. Ms. Allen was not removed or taken off the schedule.


I want this charge bled with both the EEOC and the State or local Agency,if any. I will advise    NOTARY- When necessaty fin State and Local Agemy Requirements
the agencies if 1 change my address or phone number and I will cooperate fully with them in
the processing of my charge in accordance with their procedures.
                                                                                                  I swear or affirm diat I have read the above diarge and that It is true to die best
I declare under penal^ of petjuty that the above is true and correcL                              of my knowledge,information and belief.
                                                                                                  SIGNATURE OF COMPLAINANT
  Di^tally Signed By:Sade Davenport
 11/24/2023                                                                                       SUBSCRIBED            AND      SWORN           TO   BEFORE      ME    THIS      DATE
                                                                                                  (month,day,year)

                                                        Charging Party Signature

                                                                                                                                                                              Page 1 of3
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EEOCFami5(ll/l)9)


                          Charge of Discrimination                                                           Charge Presented To:               Agency(ies)Charge No(s):

                This fonn is affected I7 die Privacy Act of 1974. See endosed Privacy Act                               EEOC                            520-2024-01074

                      Statement and other infonnadon before completing this fonn.                                       FEPA


                                                                New Yorit State Diviaon OfHuman Ri^ts                                                                    EEOC
                                                                               State or local Agency,ifany




  Mr. Laboy also refrained from letting me know that I had received employee of the month on hehalf of Randall's Island. Ms. Lorena had informed
  me on two separate occasions that 1 had received the distii^uished honor.Lastly, Mr.Lahoy has not infonned Human Resources of the reason 1 have
  heen taken off the schedule. I informed HR ahout me heing ^en off the schedule on or around November 15,2023.


  Based on the above,I believe 1 was discriminated against in violation of Title VII of the Civil Rights Act of 1964,as amended.




I want this charge filed with both the EEOC and the State or Icxal Agency,ifaiqr. Itvilladvi^     NOTARY - When necessary forStttteand Local AgeiKy Requirements
the agencies if I change my address or ^ne number and I will cooperate fully with them in
the processing of my chaige in accordance with their procedures.
                                                                                                  I swear or affirm that I have read the above charge and diat it is true to the best
I dedare under penalty of peijuiy diat die above is tme and coirecL                               of my knowledge,information and belief.
                                                                                                  SIGNATURE OF COMPLAINANT
  D^tally Signed By:Sade Davenport
 11/24/2023                                                                                      SUBSCRIBED         AND      SWORN       TO     BEFORE       ME      THIS     DATE
                                                                                                 (month, dety,year)

                                                       Charging Party Signature

                                                                                                                                                                          Page 2of3
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CP Enclosure with EEOC Foim 5(11A)9)

Privacy Act Statement: Under the Privaqr Act of 1974, Pub. Law 93-579, authority to request personal
data and its uses are:

1. Form Number/Title/Date.EEOC Form 5, Chaise of Discrimination(11/09).

2. Authority.42 U.S.C. 2000e-5(b),29 U.S.C. 211,29 U.S.C.626,42 U.S.C. 12117,42 U.S.C. 2000ff-6.

3. Principal Purposes. The purposes of a chaise, taken on this fonn or otherwise reduced to writing
   (whether later recorded on this form or not) are, as applicable under the EEOC anti-discrimination statutes
   (EEOC statutes), to preserve private suit rights under the EEOC statutes, to invoke the EEOC's jurisdiction
   and, where dual-filing or referral arrangements exist, to begin state or local proceedings.

4. Routine Uses. This form is used to provide facts that may establish the existence of matters covered by
   the EEOC statutes(and as applicable, other federal, state or local laws). Information given will be used by
   staff to guide its mediation and investigation efforts and, as applicable,to determine, conciliate and litigate
   claims of unlawful discrimination. This form may be presented to or disclosed to other federal, state or
   local agencies as appropriate or necessaiy in canying out EEOC's functions. A copy of this chaige wdl
   ordinarily be sent to the respondent oiganization against which the charge is made.

5. Whether Disclosure is Mandatory; Effect of Not Giving Information. Charges must be
   reduced to writing and should identify the charging and responding parties and the actions or policies
   complained of. Without a written charge, EEOC will ordinarily not act on the complaint. Charges under
   Title VII, the ADA or GINA must be sworn to or affirmed (either by using this form or by presenting a
   notarized statement or unsworn declaration under penalty of peijuiy); charges under the ADEA should
   ordinarily be signed. Charges may be clarified or amplified later by amendment. It is not mandatory that
   this form be used to make a charge.

Notice of Rightto Request Substantial Weight Review
Charges filed at a state or local Fair Emplojnuent Practices Agency(FEPA)that dual-files charges with EEOC
will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be first handled by a FEPA
under workshating agreements. You will be told which agency wiU handle your charge. When the FEPA is
the first to handle the charge,it will notify you of its final resolution of the matter. Then,if you wish EEOC to
give Substantial Weight Review to the FEPA's final findings, you must ask us in writing to do so within 15
days of your receipt of its findings. Otherwise, we will ordinarily adopt the FEPA's finding and close our file
on the charge.

Notice of Non-Retaliation Requirements
Please notify EEOC or the state or local agency where you filed your charge if retaliation is taken against
you or others who oppose discrimination or cooperate in any investigation or lawsuit concerning this charge.
Under Section 704(a)of Title VII, Section 4(d)of the ADEA,Section 503(a)of the ADA and Section 207(f)
of GINA,it is unlawful for an employer to discriminate against present or former employees or job applicants,
for an employment agency to discriminate against anyone, or for a union to discriminate against its members
or membership applicants, because they have opposed any practice made unlawful by the statutes, or because
they have made a charge, testified, assisted, or participated in any manner in an investigation, proceeding, or
hearing under the laws. The Equal Pay Act has similar provisions and Section 503(b) of the ADA prohibits
coercion,intimidation,threats or interference with anyone for exercising or enjoying, or aiding or encouraging
others in their exercise or enjoyment of, rights under the Act


                                                                                                            Page 3of 3
